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      EXHIBIT A
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

GEOFFREY CALHOUN, et al.,                   )
                                            )
                  Plaintiffs,               )
                                            )
      v.                                    ) Case No. 1:09-CV-3286-TCB
                                            )
RICHARD PENNINGTON, et al.,                 )
                                            )
                  Defendants.               )
                                            )

                                [PROPOSED] ORDER

      This matter is before the Court on the Parties’ Joint Motion for Approval of

Proposed Consent Order and Appointment of Special Master (Dkt. 551) (the

“Motion”). Having considered all matters of record, and for good cause shown, the

Motion is hereby GRANTED. Accordingly, it is hereby ORDERED:

                                  I. TRAINING

A.    Training

      1.    The City of Atlanta (“the City”) shall conduct “Calhoun Approved

Training” (as defined in Section I(B)(3)) for all sworn Atlanta Police Department

(“APD”) officers for calendar years 2024 and 2025 by no later than the last day of

August of each such year.




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B.    Continuation of Reform

      1.     The requirements of Section I(A)(1) shall not apply to sworn APD

officers who work no hours in the month during which training is conducted, or who

experience extenuating circumstances making them unavailable to timely complete

the training (for example, military duty or hospitalization). The City will require

any such officers to complete the Calhoun Approved Training within 30 days of

their return to active APD duty.

      2.     The Calhoun Approved Training will be presented online rather than in

person, and shall instruct about current Fourth Amendment law regarding detentions,

arrests, frisks and searches generally, the topics set forth in Exhibit A hereto

(“Constitutional Principles”), and the topics set forth in Exhibit B hereto (“Calhoun

SOP Topics”).

      3.     Plaintiffs approve the training video (contained on a thumb drive that

is Exhibit C to this Order, the “Calhoun Approved Training”) with the exception of

the Assessment Questions. Plaintiffs do not approve the Assessment Questions, but

for purposes of compromise Plaintiffs stipulate that: 1) they will not argue that the

Assessment Questions in the Calhoun Approved Training violate Section I(A)(1) of

this Order; and 2) the Calhoun Approved Training may be used for full satisfaction

of the training and recurrent training requirements of Section I(A)(1) of this Order.

The Parties further agree that:



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            (a)    the “fast forward” function of the Calhoun Approved Training

                   will be disabled, so that trainees are unable to fast forward

                   through any portion of the training that they have not yet viewed;

            (b)    for each embedded segment of Assessment Questions in the

                   Calhoun Approved Training, the segment’s order of questions

                   and the questions’ order of answer choices will be randomized;

                   and

            (c)    APD officers will be required to periodically respond to a prompt

                   during the Calhoun Approved Training confirming their

                   attention to the training, via an automated mechanism to be

                   agreed upon by the Parties or, failing such agreement, to be

                   decided by the Special Master (who shall be appointed by this

                   Court pursuant to Fed. R. Civ. P. 53 in a separate written Order

                   entered contemporaneously herewith).

The City shall not change any material element of the structure, format, or content

of the Calhoun Approved Training or the Assessment Questions unless such changes

are presented to and approved by the Special Master in writing prior to

implementation; the Special Master’s approval shall not be unreasonably withheld,

delayed, or conditioned.




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      4.     In addition to the training implemented pursuant to this Section I, the

City may implement the Calhoun Approved Training at any other time in its sole

discretion, without prior consent of Plaintiffs’ counsel or the Special Master.

C.    Monitoring Facilitation

      1.     By September 15, 2024, the City shall provide Plaintiffs’ counsel with

a roster of all sworn employees of APD as of the final day of August 2024 that shall

contain the date that each of those sworn employees completed the Calhoun

Approved Training for 2024 or the reason why timely completion did not occur (as

applicable pursuant to Section I(B)(1)). In addition, the City shall provide a

composite analysis for each test question showing the number of officers who

initially answered each question correctly, the number who initially answered each

question incorrectly, and the average number of attempts needed for officers to

correctly respond to each question.

      2.     For each sworn officer unable to timely complete the Calhoun

Approved Training for 2024 for the reasons described in Section I(B)(1), the City

will inform Plaintiffs’ counsel within 15 days of the sworn officer’s completion of

the Calhoun Approved Training for 2024, indicating the date that the officer returned

to active-duty and the date that the training was completed.

      3.     By September 15, 2025, the City shall provide the Special Master with

a roster of all sworn employees of APD as of the final day of August 2025 that shall



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contain the date that each of those sworn employees completed the Calhoun

Approved Training for 2025 or the reason why timely completion did not occur (as

applicable pursuant to Section I(B)(1)). In addition, the City shall provide a

composite analysis for each test question showing the number of officers who

initially answered each question correctly, the number who initially answered each

question incorrectly, and the average number of attempts needed for officers to

correctly respond to each question. The City shall provide additional remedial

training via the applicable portion(s) of the Calhoun Approved Training for each

officer who fails to answer at least seventy (70) percent of the Assessment Questions

correctly on the first attempt.

      4.     For each sworn officer unable to timely complete the Calhoun

Approved Training for 2025 for the reasons described in Section I(B)(1), the City

will inform the Special Master within 15 days of the sworn officer’s completion of

the Calhoun Approved Training for 2025, indicating the date that the officer returned

to active-duty and the date that the training was completed.

D.    Sunset

      1.     The provisions of this Section I shall terminate on January 1, 2026.

Thereafter, APD will require all officers to receive comprehensive training on the

Fourth Amendment at least annually.




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            II. STANDARD OPERATING PROCEDURES (SOPS)

A.    APD Standard Operating Procedures

      1.     The City shall not maintain, adopt, or revise any APD Standard

Operating Procedure (“SOP”) inconsistent with any of the Constitutional Principles

set forth in Exhibit A hereto.

      2.     The City shall not maintain, adopt, or revise any SOP inconsistent with

any provision of this Order, any of the Calhoun SOP Topics set forth in Exhibit B

hereto, or any of the “Calhoun SOPs” (as defined below), except as set forth in

Section II(B)(3).

B.    Continuation of Reform

      1.     As used herein, “Calhoun SOP” shall mean the SOPs listed on the

attached Exhibit D and any SOP added to this list pursuant to the process described

in this Section II(B).

      2.     Except as set forth in this Section II(B), the City shall retain without

change the Calhoun SOPs.

      3.     The City may modify the SOPs to the extent that a change is made to

the applicable legal principle through statutory change or legal interpretation by the

United States Supreme Court, United States Court of Appeals for the Eleventh

Circuit, the Supreme Court of Georgia, or the Georgia Court of Appeals.




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      4.     If the City modifies any Calhoun SOP for any reason before ten months

following the entry of this Order, within five business days (i.e., weekdays except

federal holidays) the City shall inform Plaintiffs’ counsel and provide a copy of the

modified SOP, in clean and blacklined form, to Plaintiffs’ counsel. This requirement

shall be referred to as the “Five-Day Reporting Requirement.”

      5.     Prior to ten months following the entry of this Order, if Plaintiffs

reasonably believe that language in any SOP not listed on Exhibit D substantively

implicates or is inconsistent with any provision of this Order, any of the

Constitutional Principles set forth in Exhibit A, or any of the Calhoun SOP Topics

set forth in Exhibit B, or any of the Calhoun SOPs, Plaintiffs may request in writing

that the City add such an SOP to the list of Calhoun SOPs, which SOPs are subject

to the Five-Day Reporting Requirement. If the City objects to adding an SOP to

the list of Calhoun SOPs, the Parties shall meet and confer. If a dispute remains,

the City will have 15 business days in which to add the SOP to the list of Calhoun

SOPs or present the issue to the Special Master for resolution. If the City does not

timely object, the SOP shall be added to the list of Calhoun SOPs.

      6.     If the City modifies any Calhoun SOP for any reason between ten

months following the entry of this Order and December 31, 2025, within five

business days (i.e., weekdays except federal holidays) the City shall inform the




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Special Master and provide a copy of the modified SOP, in clean and blacklined

form, to the Special Master.

      7.     Between ten months following the entry of this Order and December

31, 2025, if the Special Master reasonably believes that language in any SOP not

listed on Exhibit D substantively implicates or is inconsistent with any provision of

this Order, any of the Constitutional Principles set forth in Exhibit A, or any of the

Calhoun SOP Topics set forth in Exhibit B, or any of the Calhoun SOPs, the Special

Master may request in writing that the City add such an SOP to the list of Calhoun

SOPs, which SOPs are subject to the Five-Day Reporting Requirement. If the City

objects to adding an SOP to the list of Calhoun SOPs, the City and the Special

Master shall meet and confer. If a dispute remains, the City will have 15 business

days in which to add the SOP to the list of Calhoun SOPs or present the issue to the

Court for resolution. If the City does not timely object, the SOP shall be added to

the list of Calhoun SOPs.

C.    Monitoring Facilitation

      1.     By no later than midnight on February 28, 2025, the City must provide

Plaintiffs’ counsel with a copy of every SOP in effect on December 31, 2024, except

that the requirements of this Section II(C)(1) shall not apply to Confidential SOPs.

The SOPs shall be provided in both Microsoft Word and PDF (Adobe Acrobat)




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formats.   These files shall be named as follows: [SOP number] [SOP Title]

[Year.Month.Day of Last Revision].

      2.     By no later than midnight on the fifteenth days of the months of October

2024 and January and April 2025, the City must provide Plaintiffs’ counsel with the

following information for the immediately preceding quarter. By no later than

midnight on the fifteenth days of the months of July and October 2025 (together with

the fifteenth days of the months of October 2024 and January and April 2025, the

“Reporting Dates”), the City must provide the Special Master with the following

information for the immediately preceding quarter. The requirements of this Section

II(C)(2) shall not apply to Confidential SOPs.

             (a)   A copy of every SOP that is subject to the Five-Day Reporting

                   Requirement, which is in effect on the final day of the

                   immediately preceding quarter. For example, on October 15,

                   2024 (the Reporting Date), the City must provide copies of all

                   SOPs subject to the Five-Day Reporting Requirement in effect

                   on September 30, 2024. The SOPs shall be provided in both

                   Microsoft Word and Adobe Acrobat formats. The titles of these

                   SOPs     shall   contain:     [SOP    number]     [SOP     Name]

                   [Year.Month.Day of Last Revision].




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      (b)   As a separate document, a revision list indicating, in separately

            headed sections: (i) every SOP first implemented during the

            immediately preceding quarter; (ii) every SOP revoked during

            the immediately preceding quarter; and (iii) every SOP other

            than those already identified in (i) or (ii) to which any change

            whatsoever has been made during the immediately preceding

            quarter. The SOPs identified on these lists shall be denoted as

            follows: [SOP Number] [SOP Name] [Year.Month.Day of Last

            Revision]. For any category in which there are no applicable

            SOPs for the immediately preceding quarter, this shall be

            indicated affirmatively by the word “None.” This document

            must always be provided, even if no SOPs were implemented,

            revoked, or changed during the immediately preceding quarter.

      (c)   For every SOP identified in Section II(C)(2)(b)(iii), a separate

            blackline document in Microsoft Word format reflecting every

            change made to that SOP in the immediately preceding quarter.

            The Parties agree that this blackline document shall be created by

            comparing the version of the SOP in effect on the immediately

            preceding Reporting Date and the version of the SOP in effect on

            the current Reporting Date using Microsoft Word’s blackline



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                        function or the equivalent thereof that is mutually approved by the

                        Parties.

         3.   No more than once per calendar year, the City shall be entitled to a four-

calendar-day extension of one Reporting Date, if the request for such extension is

timely (i.e., communicated to Plaintiffs’ counsel or the Special Master, as applicable,

prior to midnight on the Reporting Date).

D.       Sunset

         1.   Except for Section II(A)(1), the provisions of this Section II shall

terminate on January 1, 2026.

                              III. CITIZEN COMPLAINTS

A.       Citizen Complaints

         1.   APD shall investigate and finally adjudicate all Citizen Complaints of

police misconduct of any kind within 180 days of the complaint.

B.       Continuance of Reform

         1.   Definitions. For purposes of Section III, the following definitions shall

apply:

                  (a)   “Adjudicate” means to rule on judicially, so simply closing

                        citizen complaints without the systematic inquiry and thoughtful

                        consideration generally applied by a court in resolving matters

                        will not constitute substantial compliance with this obligation.

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       (b)   “APD Administration” means any sworn member of the Atlanta

             Police Department whose rank is sergeant or higher.

       (c)   “APD Facilities” means Atlanta Police zone precincts or mini-

             precincts, APD Office of Professional Services (“OPS”) building,

             Training Academy, Headquarters, or their functional equivalent.

       (d)   “Citizen Complaint” means a complaint that alleges one or more

             acts of police misconduct performed by a sworn member of APD,

             which is initiated by any person other than City employees or

             officials acting in their official capacity.

             (1)    in a reasonably legible written communication, including

                    without limitation any signed or unsigned letter, form,

                    electronic communication, or other document using

                    written words, in any format, including hardcopy,

                    electronic, or otherwise, received by:

                    (i)     the APD Administration;

                    (ii)    an APD Facility;

                    (iii)   any sworn or unsworn on-duty OPS employee;

                    (iv)    the OPS website or functional equivalent; or

                    (v)     any online communication to APD through its or

                            the City’s websites, each of which includes a link



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                                 to a webpage through which citizens can make a

                                 complaint.

                         or

                   (2)    in an audible oral communication, including without

                          limitation those made in person, by telephone, or via OPS

                          hotline, received by:

                          (i)    a member of the APD Administration at APD

                                 Facilities; or

                          (ii)   any sworn or unsworn on-duty OPS employee.

            (e)    “Investigate” means to inquire into a matter systematically.

      2.    Enhanced Accessibility: APD shall enhance accessibility of the OPS

complaint process as follows:

             (a)   The City shall include a prominent link informing persons “How

                   to Make a Complaint”: on the index page (i.e., the “main page,”

                   or any functional equivalent) of the City website; the APD

                   section of the City website; the APD general information

                   website; on both the index page and the “Contact Us” page of

                   the APD web site, which link should be functional on all user

                   platforms, including desktops, mobile device platforms and any

                   functional equivalents. This link shall lead users directly to a



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                    page or form (or any functional equivalent) on which a Citizen

                    Complaint can be submitted to APD.

              (b)   On-duty uniformed sworn officers at an NPU meeting or city-

                    recognized neighborhood association meeting will have

                    “informational sheets” for distribution to any person alleging

                    APD police misconduct, and the information shall instruct how

                    to submit an OPS complaint via the OPS website and OPS

                    telephone hotline.

              (c)   Informational sheets, as described in Section III(B)(2)(b), will

                    be available at all APD Facilities in a visible location that is

                    accessible by the public without assistance from APD personnel.

      3.     To compute “within 180 days of the complaint” under Section

III(A)(1), the day after the complainant made a complaint in any format described

by Section III(B)(1) counts as the first day. The date that APD transmits notice to

the complainant of the final disposition of the complaint and the nature and duration

of any discipline imposed by means of a “Notification Letter” complying with the

requirements set forth below constitutes the last day.

      4.     A Notification Letter will reference each specific complaint raised by

the complainant in his or her Citizen Complaint and will identify the final disposition

and the nature and duration of any discipline imposed for each such complaint. If



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sent in paper form, the Notification Letter shall be sent by publicly trackable means

(USPS Certified Mail, UPS Express, or FedEx) and will state the tracking number.

If sent in email form, the Notification Letter shall state the email address to which

the letter was sent.

      5.     If APD references APD Work Rule 4.2.33 Conformance to Directives

(or any future equivalent thereof) in a Notification Letter relating to a specific

complaint or potential violation, APD will identify all applicable underlying law(s),

rule(s), regulation(s), directive(s), and/or SOP(s) that were investigated and

adjudicated for that complaint or potential violation.

      6.     Within 120 days of the entry of this Order, APD will make publicly

available on its website a link to a webpage that includes accurate tracking

information regarding the status of APD’s investigation into Citizen Complaints.

The webpage will provide accurate details for each Citizen Complaint, including (as

and when available): (i) the date the complainant made a complaint in any format

described by Section III(B)(1); (ii) the last name and first initial of the complainant;

(iii) the tracking or file number assigned to the complaint; (iv) the nature of the

complaint(s); (v) the status of APD’s investigation (i.e., open, closed, or pending);

(vi) the date of the Notification Letter; and (vii) the disposition of the complaint.




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C.    Monitoring Facilitation

      1.     Beginning on the entry of this Order and continuing through ten months

following the entry of this Order, the City will provide to Plaintiffs’ counsel

electronically searchable PDF files of all documents created or maintained in the

ordinary course of business in conjunction with any of the Citizen Complaints for

which the investigation was closed during the previous month.           Each OPS

investigation file shall be provided as an individual PDF document. The City will

provide such documents, for each Citizen Complaint closed in a given month, no

later than the fifteenth (15th) day of the following month. Plaintiffs’ counsel (and

any designee) agrees to keep confidential all information received pursuant to this

provision.

      2.     After ten months following the entry of this Order and continuing

through December 31, 2025, the City will provide to the Special Master the

foregoing documentation relating to each Citizen Complaint closed in a given month

no later than the fifteenth (15th) day of the following month. The Special Master

(and any designee) agrees to keep confidential all information received pursuant to

this provision.

D.    Sunset

      1.     In the event the Special Master determines that the City has not

demonstrated substantial compliance with Section III(A)(1), the Special Master will



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petition the Court to extend monitoring by the Special Master pursuant to Section

III(C)(2) on or before January 1, 2026. In any such petition, the Special Master shall

bear the burden of proving by a preponderance of the evidence that the City has not

substantially complied with Section III(A)(1) and that extension of that provision is

warranted under applicable law. Before filing any such petition, the Special Master

will seek the Court’s permission to file any materials received pursuant to this

provision, as well as any related briefing that discusses the contents of such materials,

under seal to preserve confidentiality. The requirements of Section III(C)(2) shall

remain in effect while any such petition is pending before the Court. If the Special

Master does not file a petition in accordance with this provision, Section III(C)(2)

shall terminate on January 1, 2026.

                    IV. CONSTITUTIONAL COMPLIANCE

A.    Constitutional Compliance

      1.     APD will conduct periodic audits of body worn camera (“BWC”)

videos that will include a review for compliance with the Constitutional Principles.

The following audits will occur.

             (a)    Each APD Section will complete a biweekly audit of at least ten

      (10) BWC videos from its Section. The Section audits shall be identified at

      the discretion of the APD BWC Compliance Administrator or her designee,

      and to the extent reasonably practicable shall include, but not be limited to,



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      “drop-ins” or other incidents in which reports identify that a search, seizure,

      frisk, or ACIC/GCIC/NCIC check occurred.             The review will include

      watching the entire BWC video for conformance to the Constitutional

      Principles.

               (b)   The BWC Compliance Administrator or her designee shall

      conduct a random audit of at least fifteen (15) BWC videos on a biweekly

      basis.     The review will include watching the entire BWC video for

      conformance to the Constitutional Principles.

      APD will use the City’s electronic records system to track the results of the

audits and identify any observed compliance concerns. APD will take appropriate

action in its discretion (including, without limitation, officer counseling, additional

training, and/or referral for disciplinary investigation) when it determines that an

officer has failed to comply with the Constitutional Principles.

      2.       The Chief of APD will issue an executive order within thirty (30) days

of the entry of this Order that emphasizes the seriousness with which APD takes the

protection of citizens’ Fourth Amendment rights in performing effective policing

and that APD intends to monitor and appropriately address noncompliance,

including through additional counseling, training, and/or disciplinary action as

deemed appropriate by APD for officers who are determined to have violated those

rights (in particular, unlawful searches, seizures, frisks, and ID checks), with an



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emphasis on addressing repeat offenders. The executive order will specifically

address warrantless searches without individualized reasonable articulable

suspicion, including without limitation during “drop-ins.”

      3.     Beginning on the entry of this Order and continuing until ten months

following the entry of this Order, the City will provide to Plaintiffs’ counsel and the

Special Master, no later than the fifth (5th) day of each month, a spreadsheet that

lists all incidents for which an APD Incident Report was created that occurred in the

preceding month. The spreadsheet will include the categories of data, to the extent

such data exists and can be collected via an automated process of the City, as

reflected in the spreadsheet attached hereto as Exhibit E. Plaintiffs’ counsel will

provide written notice to the City that identifies up to thirty (30) incidents listed on

the spreadsheet which Plaintiffs’ counsel reasonably believes implicate the

Constitutional Principles. Beginning February 1, 2025, such written notice shall be

provided jointly by Plaintiffs’ counsel and the Special Master, with the Special

Master providing input to Plaintiffs’ counsel within seven (7) days of receiving the

spreadsheet. Within ten (10) days of receiving such written notice, the City will

provide to Plaintiffs’ counsel all BWC videos for the incidents identified in the

written notice in MP4 format.

      4.      Notwithstanding the requirements of Section IV(A)(3), if the City

would like to exclude from review by Plaintiffs’ counsel a specific BWC video



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subject to disclosure under Section IV(A)(3) on the grounds that it is exempt from

public disclosure under the Georgia Open Records Act (O.C.G.A. § 50-18-72), the

City shall identify each such video and provide a copy to the Special Master for

review. If the Special Master determines within seven (7) days that an identified

video does not implicate any concern relevant to the Constitutional Principles set

forth in Exhibit A, such video may be withheld from Plaintiffs’ counsel.

      5.     After ten months following the entry of this Order and continuing

through December 31, 2025, the City will provide to the Special Master, no later

than the fifth (5th) day of each month, a spreadsheet that lists all incidents for which

an APD Incident Report was created that occurred in the preceding month. The

spreadsheet will include the categories of data, to the extent such data exists and can

be collected via an automated process of the City, as reflected in the spreadsheet

attached hereto as Exhibit E. The Special Master will provide written notice to the

City that identifies up to thirty (30) incidents listed on the spreadsheet which the

Special Master reasonably believes implicate the Constitutional Principles. Within

ten (10) days of receiving such written notice, the City will provide to the Special

Master all BWC videos for the incidents identified in the Special Master’s written

notice in MP4 format.

      6.     In connection with the BWC video review permitted by Section

IV(A)(3) above, the City will make available to Plaintiffs’ counsel all BWC videos



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involving individual officers identified by Plaintiffs’ counsel to the City by name,

unit number, badge number, and/or unique i.d. number by allowing Plaintiffs’

counsel to search for and view videos involving those officers on Evidence.com or

future equivalent (with fast forward functionality) upon reasonable advance written

notice. The City may choose whether to require Plaintiffs’ counsel to access these

videos at City Hall or at a place and manner chosen by Plaintiffs’ counsel.

      7.     Plaintiffs’ counsel and the Special Master are required to limit the

charges for review of all BWC videos under this Section IV to twenty (20) hours per

month (plus any additional travel time if the City requires review to take place at

City Hall) at an hourly rate of $300.00.

      8.     Plaintiffs’ counsel (and any designee) and the Special Master (and any

designee) are hereby ORDERED to keep confidential the materials received

pursuant to this Section IV.

B.    Sunset

      1.     In the event the Special Master determines, after review of the BWC

videos produced in accordance with Section IV(A)(5), that the City has not

demonstrated substantial compliance with its obligation to adhere to the

Constitutional Principles, the Special Master will petition the Court to extend Section

IV(A)(5) on or before January 1, 2026. In any such petition, the Special Master shall

bear the burden of proving by a preponderance of the evidence that the City has not



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substantially complied with its obligation to adhere to the Constitutional Principles

and that extension of that provision is warranted under applicable law. Before filing

any such petition, the Special Master will seek the Court’s permission to file any

materials received pursuant to this provision, as well as any related briefing that

discusses the contents of such materials, under seal to preserve confidentiality. The

requirements of Section IV(A)(5) shall continue while any such petition is pending

before the Court. If the Special Master does not file a petition in accordance with

this provision, Section IV shall terminate on January 1, 2026.

                              V. IDENTIFICATION

A.    Identification Requirement for APD Officers

      1.     The City shall require all APD officers who are in uniform, other than

a rain slicker or traffic direction vest, to wear a conspicuously visible nametag, and

to require any APD officer who is in uniform or has displayed a badge or other

indicia of police authority (such as a police vest) to identify himself or herself by

name and unit, badge, or unique i.d. number upon request at some point before the

end of an encounter with a civilian.

B.    Continuation of Reform

      1.     APD’s Standard Operating Procedure SOP.2130 pertaining to Dress

Code (or any future functional equivalent) shall include a section requiring that any

APD officer who is in uniform must, at all times, wear a conspicuously visible



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nametag, and emphasizing that the only exception to this requirement is a rain slicker

or traffic direction vest. No APD SOP shall supersede or contradict this section of

SOP.2130.

      2.     APD’s Standard Operating Procedure SOP.2010 pertaining to Work

Rules (or any future functional equivalent) shall include a section requiring any APD

officer who is in uniform or has displayed a badge or other indicia of police authority

(such as a police vest, etc.), to identify himself by name and unit, badge, or unique

i.d. number upon request at some point before the end of an encounter with a civilian.

      3.     APD recruits shall be trained on the name tag and identification

requirements.

      4.     All APD supervisors who identify a police officer in uniform, whether

on duty or off duty, without a conspicuously visible nametag, shall initiate an OPS

investigation, discipline, or issue a written reprimand where deemed appropriate.

C.    Monitoring

      1.     Beginning on the entry of this Order and continuing until ten months

following the entry of this Order, the City will provide to Plaintiffs’ counsel monthly

access for no more than eight (8) hours each month to Evidence.com or future

equivalent for the sole purpose of reviewing BWC videos (with the audio turned off)

for compliance with the requirements of Section V(A)(1). The review settings will

allow for the BWC videos to be reviewed at normal speed and at standard available



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fast forward speeds at the discretion of the individual performing the review. APD

shall have the right to have a representative present for Plaintiffs’ counsel’s review,

but no other representative of the City or APD shall be present. Plaintiffs’ counsel’s

access will be restricted initially by the City to BWC videos of the SWAT and APEX

units. However, if Plaintiffs’ counsel completes his or her initial review of such

BWC videos within the eight (8) hours and desires to review additional BWC videos

for the sole purpose of reviewing for compliance with the requirements of Section

V(A)(1), the restriction to the SWAT and APEX units will be removed for such

additional desired identification monitoring and Plaintiffs’ counsel may review any

and all APD BWC videos (with the audio turned off) available on Evidence.com or

future equivalent (including but not limited to BWC videos of the SWAT and APEX

units) up to a maximum of eight (8) hours of total access time under this provision

each month.

      2.      Notwithstanding the requirements of Section V(C)(1), if the City would

like to exclude from review by Plaintiffs’ counsel a specific BWC video subject to

disclosure under Section V(C)(1) on the grounds that it is exempt from public

disclosure under the Georgia Open Records Act (O.C.G.A. § 50-18-72), the City

shall identify each such video and provide a copy to the Special Master for review,

and the City shall make reasonable efforts to make such identification in advance of

Plaintiffs’ counsel’s review. During Plaintiffs’ counsel’s review of BWC videos



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pursuant to Section V(C)(1), APD’s representative may discontinue (pending

Special Master review) the review of any video he or she reasonably believes reflects

highly sensitive material, such as any sex-related offense, police misconduct other

than types of misconduct addressed in Section V(A)(1), or ongoing investigation

under the jurisdiction of another government agency (e.g., Georgia Bureau of

Investigation, District Attorney’s office). If the Special Master determines within

seven (7) days that an identified video is not relevant to the Identification concerns

at issue in this Section V, such video may be withheld from Plaintiffs’ counsel.

      3.     After ten months following the entry of this Order and continuing

through December 31, 2025, the City will provide to the Special Master monthly

access for no more than eight (8) hours each month to Evidence.com or future

equivalent for the sole purpose of reviewing BWC videos (with the audio turned off)

for compliance with the provisions of Section V(A)(1). The review settings will

allow for the BWC videos to be reviewed at normal speed and at standard available

fast forward speeds at the discretion of the individual performing the review. APD

shall have the right to have a representative present for the Special Master’s review,

but no other representative of the City or APD shall be present. The Special Master’s

access will be restricted by the City initially to BWC videos of the SWAT and APEX

units. However, if the Special Master completes his initial review of such BWC

videos within the eight (8) hours and desires to review additional BWC videos for



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the sole purpose of reviewing for compliance with the provisions of Section V(A)(1),

the restriction to the SWAT and APEX units will be removed for such additional

desired identification monitoring and the Special Master may review any and all

APD BWC videos (with the audio turned off) available on Evidence.com or future

equivalent (including but not limited to BWC videos of the SWAT and APEX units)

up to a maximum of eight (8) hours of total access time under this provision each

month.

      4.     Plaintiffs’ counsel and the Special Master are required to limit the

charges for review of all BWC videos under this Section V to eight (8) hours per

month at an hourly rate of $300.00.

      5.     Plaintiffs’ counsel and the Special Master are hereby ORDERED to

keep confidential the materials received pursuant to this Section V.

D.    Sunset

      1.     Except for the provisions of Section V(A)(1), the provisions of this

Section V will terminate on January 1, 2026.

     VI. NO INTERFERENCE WITH AUDIO OR VIDEO RECORDINGS

      The City shall prohibit APD officers from interfering in any way with a

citizen’s right to make video, audio, or photographic recordings of police activity,

as long as such recording does not physically interfere with the performance of an

officer’s duty.



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                                VII. DISCOVERY

      Plaintiffs may conduct post-judgment discovery to monitor compliance with

this Order in accordance with and as permitted by the Federal Rules of Civil

Procedure, the Local Rules of the United States District Court for the Northern

District of Georgia, and all Standing Orders of this Court, except as modified by this

provision. Along with any discovery request, Plaintiffs’ counsel shall include a

written explanation of the reason(s) the requested information or documents are

reasonably necessary to monitor the City’s compliance with this Order. The City

shall provide its written responses and objections to Plaintiffs’ discovery requests

within ten (10) business days of receipt thereof, and the Parties shall meet and confer

in good faith in an effort to resolve any disputes concerning such discovery within

ten (10) days after Plaintiffs’ counsel’s receipt of the City’s written responses and

objections. Thereafter, the Parties agree that any remaining dispute concerning such

discovery will be decided by the Special Master and that either Party may request

expedited review of any such dispute. The special discovery procedures in this

Section VII set forth above shall terminate on January 1, 2026.

                             VIII. ATTORNEY FEES

      1.     The City shall pay Plaintiffs’ counsel their reasonable attorney fees and

costs reasonably incurred in ensuring compliance with this Order. The City shall




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pay these sums directly to Plaintiffs’ counsel upon receipt (i.e., within thirty calendar

days) of each itemized accounting of reasonable time and expenses.

      2.     If the City believes any element of such itemized accounting to be

unreasonable, the City shall present such objections, including the specific bases for

each objection, in writing to Plaintiffs’ counsel within 5 business days of receipt of

such accounting. Within 5 business days thereafter, the Parties shall meet and confer

and attempt to resolve the dispute. If a dispute remains, the City must, within 10

business days of the date it raised its objections, do one of the following: (1) pay

Plaintiffs’ counsel’s accounting as presented; or (2) present the dispute, in a writing

served on Plaintiffs’ counsel, to the Special Master for resolution.

      3.     The provisions of this Section VIII shall terminate on ten months from

the entry of this Order; provided, however, that nothing herein shall preclude

Plaintiffs’ counsel from seeking recovery of its reasonable attorney’s fees reasonably

incurred thereafter in connection with this Order. Plaintiffs’ counsel shall make any

such request by written motion presented to the Special Master, and all Parties

reserve all of their rights under applicable law in connection with any such motion.

                         IX.   STATEMENT OF INTENT

      This Order represents the desire and agreement of the Parties to focus on

ensuring the City’s compliance with the obligations set forth above, public safety,

and respect for citizens’ constitutional rights in the future. In consideration of the



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Parties’ agreement and the obligations and associated expenditures undertaken by

the City as set forth herein, Plaintiffs agree to not file any motion with or request for

relief from the Court or the Special Master relating to any conduct or actions of the

City or APD that occurred before the entry of this Order.

                    X. SUPERSEDING OF PRIOR ORDERS

      This Order shall supersede all orders previously entered by the Court in this

action, including without limitation this Court’s November 29, 2018 Order (Dkt.

434) and this Court’s October 3, 2023 Order (Dkt. 512), except that all obligations

set forth in any previous order obligating the City to pay outstanding attorneys’ fees

accrued prior to the entry of this Order shall remain in place.

             XI. IMPOSITION OF SANCTION BY THE COURT

      The City acknowledges that it did not comply with certain Citizen Complaint

adjudication requirements set forth in the Court’s November 29, 2018 Order, and

that such noncompliance subjects the City to sanctions under previous orders entered

by the Court. In consideration of these acknowledgements, as well as the City’s

agreement to the future compliance and monitoring obligations set forth herein, the

Court imposes a sanction of $2,000,000.00 against the City for its prior

noncompliance.

      Up to $500,000.00 of the imposed $2,000,000.00 sanction may be spent by

the City on documented expenses directed towards future compliance with the



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requirements of this Order, including the creation and maintenance of a webpage

described in Section III(B)(6). The remainder of the $2,000,000.00 sanction shall be

given to an entity approved by the Special Master in consultation with Plaintiffs’

counsel for the specific purpose of educating citizens about their Fourth Amendment

rights.

                   XII. APPOINTMENT OF SPECIAL MASTER

          The Parties agree that, contemporaneously with the entry of this Order, the

Court shall appoint a Special Master pursuant to Fed. R. Civ. P. 53 with the duty and

authority to enforce and resolve any disputes between the Parties concerning the

provisions of this Order.

          Plaintiffs’ counsel may bring a motion to impose sanctions against the City

for “substantial noncompliance”1 with the requirements of Section III(A)(1) to the

Special Master, who is authorized in his discretion to impose monetary sanctions for

any such substantial noncompliance. However, no sanction shall be imposed for

noncompliance with Section III(A)(1) for conduct occurring prior to October 31,

2024.

          The Parties hereby consent to the appointment of Joe D. Whitley as the Special

Master and agree that any motion relating to this Order will be brought before the


1
  While the Court is not inclined to specifically define “substantial noncompliance,”
it should be noted that anything below a 75% compliance rate will certainly be
considered inadequate.

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Special Master for resolution. In addition, the Parties agree to meet and confer in

good faith in an effort to resolve any dispute hereunder before bringing any motion

for relief before the Special Master, and further agree that no such motion shall be

brought during the first ninety (90) days after the entry of this Order.

      IT IS SO ORDERED this ___ day of ____________, 2024.




                                        Timothy C. Batten, Sr.
                                        Chief Judge, United States District Court




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                                    EXHIBIT A
                              Constitutional Principles

a) Police officers may not lawfully detain any individual without reasonable
   articulable suspicion, particularized to the person being detained (i.e., a
   “particularized and objective basis for suspecting the particular person”) that
   the individual is involved in specific and identifiable criminal activity.

   A police officer may conduct a brief, investigatory stop of a person when the
   officer has a reasonable, articulable suspicion that that person is involved in
   criminal activity (A “Terry stop”). While “reasonable suspicion” is a less
   demanding standard than probable cause and requires a showing considerably
   less than preponderance of the evidence, the Fourth Amendment requires at
   least a minimal level of objective justification for making the Terry stop. The
   officer must be able to articulate more than an “inchoate and unparticularized
   suspicion or ‘hunch’” of criminal activity by the person. Illinois v. Warlaw,
   528 U.S. 119, 122 (2000) (citations omitted). The officer must have a
   reasonable suspicion, based on objective facts, that the individual is involved
   in criminal activity. Brown v. Texas, 443 U.S. 47, 51 (1979). Also, the
   officer's action must be “‘justified at its inception, and . . . reasonably related
   in scope to the circumstances which justified the interference in the first
   place.’” United States v. Sharpe, 470 U.S. 675, 682 (1985) (quoting Terry v.
   Ohio, 392 U.S. 1, 20 (1968)).

b) Police officers may not lawfully take or demand identification, or require an
   individual to identify himself, without reasonable suspicion, based on
   objective criteria, that the individual is engaged or had engaged in criminal
   conduct.

   When a police officer is conducting a Terry stop on the basis of reasonable
   articulable suspicion that a person is engaged or has engaged in criminal
   activity, the officer may demand that a person identify himself or display
   identification. Hiibel v. Sixth Judicial Dist. Court, 542 U.S. 177 (2004);
   Brown v. Texas, 443 U.S. 47 (1979). In the absence of a lawful Terry stop, a
   police officer may not lawfully take identification or demand an individual to
   identify himself.

c) Police officers may not lawfully frisk an individual for weapons without a
   reasonable belief, directed at the particular person to be frisked, that the person
   is both armed and presently dangerous.

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   During a lawful Terry stop, a police officer for his own protection and safety may
   conduct a patdown of a person to find weapons that he reasonably believes or
   suspects are then in the possession of the person he has stopped. Police may not
   conduct a generalized “cursory search for weapons” or any search whatever for
   anything but weapons. The “narrow scope” of the Terry exception does not permit
   a frisk for weapons on less than reasonable belief or suspicion directed at the
   person to be frisked, even though that person happens to be on premises where an
   authorized narcotics search is taking place. Ybarra v. Illinois, 444 U.S. 85, 93
   (1979).

d) A warrantless arrest is constitutionally valid only when there is probable cause
   to arrest. United States v. Watson, 423 U.S. 411, 417 (1976). Probable cause
   exists if, “at the moment the arrest was made, 'the facts and circumstances within
   [the officers’] knowledge and of which they had reasonably trustworthy
   information were sufficient to warrant a prudent man in believing’ that [the
   suspect] had committed or was committing an offense.” United States v. Floyd,
   281 F.3d 1346, 1348 (11th Cir. 2002); United States v. Gonzalez, 969 F.2d 999,
   1002 (11th Cir. 1992). “Probable cause does not require the same type of
   specific evidence of each element of the offense as would be needed to support
   a conviction.” Adams v. Williams, 407 U.S. 143, 149 (1972). “[P]robable cause
   is a reasonable ground for belief of guilt, and that the belief of guilt must be
   particularized with respect to the person to be searched or seized.” Maryland v.
   Pringle, 540 U.S. 366, 371 (2003).

e) An arrest requiring probable cause is defined using an objective standard:
   whether the suspect is “‘subjected to restraints comparable to those associated
   with a formal arrest.’” United States v. Acosta, 363 F.3d 1141, 1149 (11th
   Cir. 2004) (quoting Berkemer v. McCarty, 468 U.S. 420, 441 (1984)).

f) In the absence of a lawful arrest, voluntary consent, or the exception
   commonly known as “the plain feel exception,” a police officer may not
   lawfully search an individual for anything other than weapons without either
   a search warrant or probable cause plus exigent circumstances.

   As to the “plain feel exception,” if in conducting a lawful Terry patdown for
   weapons a police officer in lawfully patting down a suspect’s outer clothing feels
   an object whose contour or mass makes its identity immediately apparent as
   contraband, it may be seized without a warrant. Minnesota v. Dickerson, 508
   U.S. 366, 37-376 (1993).



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g) Police officers may not lawfully arrest an individual in his or her home without
   either an arrest warrant or probable cause plus exigent circumstances. Payton
   v. New York, 445 U.S. 573 (1980).

h) A police officer may not enter a suspect’s home without a search warrant or
   voluntary consent unless probable cause and exigent circumstances exist, and
   any resulting search and seizure is prohibited under the Fourth Amendment.
   Payton v. New York, 445 U.S. 573, 586 (1980). Exigent circumstances exist
   “when the inevitable delay incident to obtaining a warrant must give way to an
   urgent need for immediate action.” United States v. Satterfield, 743 F.2d 827,
   844 (11th Cir. 1984). Situations in which exigent circumstances exist include:
   “danger of flight or escape; danger of [physical] harm to police officers or the
   general public; risk of loss, destruction, removal, or concealment of evidence;
   and ‘hot pursuit’ of a fleeing suspect.” United States v. Blasco, 702 F.2d 1315,
   1325 (11th Cir. 1983). “The mere presence of contraband, however, does not
   give rise to exigent circumstances.” United States v. Lynch, 934 F.2d 1226,
   1232 (11th Cir. 1991). Rather, “the appropriate inquiry is whether the facts ...
   would lead a reasonable, experienced [officer] to believe that evidence might be
   destroyed before a warrant could be secured.” United States v. Tobin, 923 F.2d
   1506, 1510 (11th Cir. 1991).




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                                   EXHIBIT B
                               Calhoun SOP Topics

a) Identification Requirement.

All Atlanta police officers who are in uniform, other than a rain slicker or traffic
direction vest, must wear a conspicuously visible nametag, and to require any
Atlanta police officer who is in uniform or has displayed a badge or other indicia of
police authority (such as a police vest, etc.), to identify himself by name and badge
number upon request at some point before the end of an encounter with a civilian.

b) Interference with Audio and Video Recordings.

The City shall prohibit Atlanta police officers from interfering in any way with a
citizen's right to make video, audio, or photographic recordings of police activity, as
long as such recording does not physically interfere with the performance of an
officer's duty.

c) Citizen Complaints.

APD shall investigate and finally adjudicate all citizen complaints of police
misconduct of any kind within 180 days of the complaint.

d) Aiming Weapon.

An officer is prohibited from pointing or aiming a weapon at a person unless the
discharge of the weapon would be justifiable.

e) Greenberg Traurig LLP Report

The results of the “Investigation of Officer Conduct” as reflected in “Greenberg
Traurig, LLP’s APD.SOP 20.20 § 3.4.1 Final Report Regarding The Planning,
Execution, And Subsequent Conduct Related To The ‘Eagle Raid’” presented on
June 27, 2011.




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                           EXHIBIT C
                Video: Calhoun Approved Training

                           See Dkt. 433




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                                   EXHIBIT D
                                 Calhoun SOPs
 All SOP Sections below refer to the Sections in effect on the date of this Order’s
                                      entry

                              SOP 2010 – Work Rules

Section 4.2.22 (3) – Nametags

Section 4.2.23 (1) – Giving Identification

Section 4.6.9 (2) – Pointing of firearms

                           SOP 2011– General Conduct

Section 4.4.1 – Interfering with citizen’s right to record

                              SOP 2130 – Dress Code

Section 4.1.2 – Nametags

                          SOP 3020 – Search and Seizure

Section 4.1.6 –Taking or demanding identification

Section 4.3.1 (1) – Constitutional preference for searches pursuant to warrant

Section 4.3.1 (2) – Justification for warrantless search

Section 4.3.1 (3) – Warrantless search, plain view doctrine

Section 4.3.4 – Stop and frisk

Section 4.3.5 – Exigent circumstances




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                         SOP 3020 – Search and Seizure

Section 5.9 – Definition of “probable cause”

Section 5.10 – Definition of “reasonable articulable suspicion to detain”

Section 5.11– Definition of “reasonable articulable suspicion to frisk”

Section 5.15 – Definition of “stop and frisk”

                          SOP 3030 – Arrest Procedures

Section 4.1.3 (1)(a-e) – Arrest without a warrant

Section 5.4 – Definition of “probable cause”

                           SOP 3065 – Field Interviews

Section 4.1.1 – Stops
Section 4.3.4 – De-escalation after stop




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                           EXHIBIT E

                Three-page Spreadsheet (attached)




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                                                                                                                    EXHIBIT E



                                                                                                                                                                           All Assisting Officers and
Case #                   Report ID               Primary Agency          Report Type             Report Subtype          Report Author           Assisting Officer         Assist Types               Report Date / Time      Event Classification Code


                                                                                                                         UCR Offense             UCR Offense
Event Classification     Offense Score           Offense Score 2         Offense Status          Offense Status 2        Classification          Classification 2          Stat Reporting            Street Crime?            Incident Type I


                                                                                                                         Event Location Location Event Location Street     Event Location Cross      Event Location Cross
Incident Type II         Incident Type III       Weapon / Force Involved Weapon Involved?        Narrative               Alias                   Address                   Street 1                  Street 2                 Event Location City


                         Event Location Location                                                 Event Location          Offense Location        Offense Location Street   Offense Location Cross    Offense Location Cross
Event Location State     Category                Event Location Lat      Event Location Long     Neighborhood            Location Alias          Address                   Street 1                  Street 2                 Offense Location City


                         Offense Location                                                        Offense Location
Offense Location State   Location Category       Offense Location Lat    Offense Location Long   Neighborhood            DATE                    Time                      Hour Group                Month                    Day of Week


Event District           Event Sector            Event Grid              Offense District        Offense Sector          Offense Grid            Event Neighborhood        Suspect Count             Suspect 1                Suspect 1 DOB




Suspect 1 Home Address Suspect 1 Home Address Suspect 1 Home Address Suspect 1 Home Address Suspect 1 Home Address Suspect 1 Home Address Suspect 1 Home Address Suspect 1 Home Address Suspect 1 Home Address Suspect 1 Home Address
Location Alias         Street Address         Cross Street 1         Cross Street 2         City                   State                  Location Category      Lat                    Long                   Neighborhood




                                                                                                                         Suspect 2 Home Address Suspect 2 Home Address Suspect 2 Home Address Suspect 2 Home Address Suspect 2 Home Address
Suspect 1 Sex            Suspect 1 Race          Suspect 1 Ethnicity     Suspect 2               Suspect 2 DOB           Location Alias         Street Address         Cross Street 1         Cross Street 2         City




Suspect 2 Home Address Suspect 2 Home Address Suspect 2 Home Address Suspect 2 Home Address Suspect 2 Home Address
State                  Location Category      Lat                    Long                   Neighborhood           Suspect 2 Sex                 Suspect 2 Race            Suspect 2 Ethnicity       Victim Count             Victim 1




                         Victim 1 Home Address   Victim 1 Home Address   Victim 1 Home Address   Victim 1 Home Address   Victim 1 Home Address   Victim 1 Home Address     Victim 1 Home Address     Victim 1 Home Address    Victim 1 Home Address
Victim 1 DOB             Location Alias          Street Address          Cross Street 1          Cross Street 2          City                    State                     Location Category         Lat                      Long




Victim 1 Home Address                                                                                                                            Victim 2 Home Address     Victim 2 Home Address     Victim 2 Home Address    Victim 2 Home Address
Neighborhood             Victim 1 Sex            Victim 1 Race           Victim 1 Ethnicity      Victim 2                Victim 2 DOB            Location Alias            Street Address            Cross Street 1           Cross Street 2




Victim 2 Home Address    Victim 2 Home Address   Victim 2 Home Address   Victim 2 Home Address   Victim 2 Home Address   Victim 2 Home Address
City                     State                   Location Category       Lat                     Long                    Neighborhood            Victim 2 Sex              Victim 2 Race             Victim 2 Ethnicity       Witness




                         Witness Home Address    Witness Home Address    Witness Home Address    Witness Home Address    Witness Home Address    Witness Home Address      Witness Home Address      Witness Home Address     Witness Home Address
Witness DOB              Location Alias          Street Address          Cross Street 1          Cross Street 2          City                    State                     Location Category         Lat                      Long
                                                   Case 1:09-cv-03286-TCB Document 551-1 Filed 09/25/24 Page 42 of 43
                                                                                                                           EXHIBIT E




Witness Home Address                                                                                                                                                              Arrested Person Home      Arrested Person Home     Arrested Person Home
Neighborhood             Witness Sex              Witness Race              Witness Ethnicity         Arrested Count            Arrested Person          Arrested Person DOB      Address Location Alias    Address Street Address   Address Cross Street 1


                                                                            Arrested Person Home
Arrested Person Home     Arrested Person Home     Arrested Person Home      Address Location          Arrested Person Home      Arrested Person Home     Arrested Person Home
Address Cross Street 2   Address City             Address State             Category                  Address Lat               Address Long             Address Neighborhood     Arrested Person Sex       Arrested Person Race     Arrested Person Ethnicity


Arrestee was Armed                                                                                                                                                                                          Warrant Number           Warrant Description
With                     Total Charges            Charge I                  Charge II                 Charge III                Bail Amount ($)          Total Warrants           Warrants (Y/N)            (Warrant 1)              (Warrant 1)


External Agency (Y/N)    Warrant Number           Warrant Description       External Agency (Y/N)     Warrant Number            Warrant Description      External Agency (Y/N)                              Total FCC Individuals
(Warrant 1)              (Warrant 2)              (Warrant 2)               (Warrant 2)               (Warrant 3)               (Warrant 3)              (Warrant 3)              Total FCC Individuals     Frisked                  FCC Type




                                                  FCC Subject 1 Frisk       FCC Subject 1                                       FCC Subject 1 Home       FCC Subject 1 Home       FCC Subject 1 Home        FCC Subject 1 Home       FCC Subject 1 Home
FCC Disposition          FCC Subject 1            Involved                  Involvement Type A        FCC Subject 1 DOB         Address Location Alias   Address Street Address   Address Cross Street 1    Address Cross Street 2   Address City


                         FCC Subject 1 Home
FCC Subject 1 Home       Address Location         FCC Subject 1 Home        FCC Subject 1 Home        FCC Subject 1 Home                                                                                                             FCC Subject 2 Frisk
Address State            Category                 Address Lat               Address Long              Address Neighborhood      FCC Subject 1 Sex        FCC Subject 1 Race       FCC Subject 1 Ethnicity   FCC Subject 2            Involved


                                                                                                                                                                                                            FCC Subject 2 Home
FCC Subject 2                                     FCC Subject 2 Home        FCC Subject 2 Home        FCC Subject 2 Home        FCC Subject 2 Home       FCC Subject 2 Home       FCC Subject 2 Home        Address Location         FCC Subject 2 Home
Involvement Type A       FCC Subject 2 DOB        Address Location Alias    Address Street Address    Address Cross Street 1    Address Cross Street 2   Address City             Address State             Category                 Address Lat




FCC Subject 2 Home       FCC Subject 2 Home                                                                                                                                                                                          License Plate /
Address Long             Address Neighborhood     FCC Subject 2 Sex         FCC Subject 2 Race        FCC Subject 2 Ethnicity   Year of Manufacture      Make                     Model                     Tag State                Registration #


                                                  Recovered Location        Recovered Location        Recovered Location        Recovered Location                               Recovered Location         Recovered Location
VIN #                    Vehicle Color            Location Alias            Street Address            Cross Street 1            Cross Street 2           Recovered Location City State                      Location Category        Recovered Location Lat


                        Recovered Location                                  Vehicle Property Status                                                                                                       CIR Information
Recovered Location Long Neighborhood              Vehicle Property Status   Date                      Value                     CIR reason               CIR disposition          CIR Type of Information Obtained from              CIR Subject 1


                                                                                                                                                                                                            CIR Subject 1 Home
                         CIR Subject 1 Physical   CIR Subject 1 Home        CIR Subject 1 Home        CIR Subject 1 Home        CIR Subject 1 Home       CIR Subject 1 Home       CIR Subject 1 Home        Address Location         CIR Subject 1 Home
CIR Subject 1 DOB        Address                  Address Location Alias    Address Street Address    Address Cross Street 1    Address Cross Street 2   Address City             Address State             Category                 Address Lat




CIR Subject 1 Home       CIR Subject 1 Home                                                                                     Total Value of Stolen    Total Value of Recovered                           Property 1 Status
Address Long             Address Neighborhood     CIR Subject 1 Sex         CIR Subject 1 Race        CIR Subject 1 Ethnicity   Property                 Property                 Property 1 Description    (Stolen, Recovered etc.) Property 1 Status Date
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                                                                                                                          EXHIBIT E




                                                                             Property 1 Reason for    Property 1 Recovered      Property 1 Recovered    Property 1 Recovered      Property 1 Recovered      Property 1 Recovered      Property 1 Recovered
Property 1 Value          Property 1 Serial Number Property 1 Category       Police Custody           Location Location Alias   Location Street Address Location Cross Street 1   Location Cross Street 2   Location City             Location State


Property 1 Recovered
Location Location         Property 1 Recovered      Property 1 Recovered     Property 1 Recovered                               Property 2 Status
Category                  Location Lat              Location Long            Location Neighborhood    Property 2 Description    (Stolen, Recovered etc.) Property 2 Status Date   Property 2 Value          Property 2 Serial Number Property 2 Category


                                                                                                                                                                                  Property 2 Recovered
Property 2 Reason for     Property 2 Recovered      Property 2 Recovered    Property 2 Recovered      Property 2 Recovered      Property 2 Recovered     Property 2 Recovered     Location Location         Property 2 Recovered      Property 2 Recovered
Police Custody            Location Location Alias   Location Street Address Location Cross Street 1   Location Cross Street 2   Location City            Location State           Category                  Location Lat              Location Long




Property 2 Recovered                                Property 3 Status                                                                                                             Property 3 Reason for     Property 3 Recovered      Property 3 Recovered
Location Neighborhood     Property 3 Description    (Stolen, Recovered etc.) Property 3 Status Date   Property 3 Value          Property 3 Serial Number Property 3 Category      Police Custody            Location Location Alias   Location Street Address


                                                                                                      Property 3 Recovered                                                                                  Missing Person Last     Missing Person Last
Property 3 Recovered      Property 3 Recovered      Property 3 Recovered     Property 3 Recovered     Location Location         Property 3 Recovered     Property 3 Recovered     Property 3 Recovered      Known Location Location Known Location Street
Location Cross Street 1   Location Cross Street 2   Location City            Location State           Category                  Location Lat             Location Long            Location Neighborhood     Alias                   Address


Missing Person Last       Missing Person Last                                                         Missing Person Last                                                         Missing Person Last
Known Location Cross      Known Location Cross      Missing Person Last      Missing Person Last      Known Location Location Missing Person Last        Missing Person Last      Known Location            Missing Person Date of    Missing Person Last
Street 1                  Street 2                  Known Location City      Known Location State     Category                Known Location Lat         Known Location Long      Neighborhood              Last Contact              Person Contacted


                                                                                                                                                Missing Person Location
Missing Person Location Missing Person Location Missing Person Location Missing Person Location Missing Person Location Missing Person Location Located Location        Missing Person Location Missing Person Location Missing Person Location
Located Location Alias  Located Street Address Located Cross Street 1   Located Cross Street 2  Located City            Located State           Category                Located Lat             Located Long            Located Neighborhood


                                                                                                                                                                                                            Missing Person Home
                                                    Missing Person Home      Missing Person Home      Missing Person Home       Missing Person Home      Missing Person Home      Missing Person Home       Address Location          Missing Person Home
Missing Person            Missing Person DOB        Address Location Alias   Address Street Address   Address Cross Street 1    Address Cross Street 2   Address City             Address State             Category                  Address Lat




Missing Person Home       Missing Person Home
Address Long              Address Neighborhood      Missing Person Sex       Missing Person Race      Missing Person Ethnicity Is Imported Report?       Supplement Type
